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 6
 7                       UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9
10
     NEMAN BROTHERS & ASSOC.,                     Case No.: 2:20-cv-11181-CAS-JPR
11   INC., a California Corporation;
                                                  NEMAN BROTHERS & ASSOC.,
12
               Plaintiff/Counter-Defendant,       INC.’S BRIEF IN OPPOSITION TO
13                                                INVERFOCUS’ SECOND
               vs.                                SUPPELMENTAL BRIEF
14
15   INTERFOCUS, INC., a California
     Corporation, et al.,                         Date: December 5, 2022
16              Defendant/Counter-Claimant        Time: 10 a.m.
17                                                Honorable Judge Christina A. Snyder
18
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 1
                      MEMORANDUM OF POINTS AND AUTHORITIES

 2
                                        I. INTRODUCTION
 3
             Interfocus, Inc. (“Interfocus”) does not dispute, or failed to negate, Neman
 4
     Brothers & Assoc., Inc. (“Neman”)’s ownership and originality of the subject designs,
 5
     virtual identities between the subject designs and the accused patterns, lack of evidence
 6
     for any independent creation, etc. Rather, as pointed out by the Supreme Court in
 7
     Unicolors, Inc. (“Unicolors”) and the Congressional report, Interfocus as an infringer
 8
     having no real excuses for its misconducts of the series of infringements, attempts to
 9
10
     exploit the loophole to expose the registrations to invalidation based on pure mistake,

11   which was based on good-faith misunderstandings of the details of copyright law.

12           As to the requirement of showing willful blindness under Unicolors, the Supreme

13   Court in Global-Tech Appliances, Inc. (“Global-Tech”) already provided clear guidelines
14   in Global-Tech Appliances, Inc. However, Interfocus completely failed to present
15   evidence showing any of Neman’s (1) subjective knowledge of a high probability or (2)
16   deliberate actions to avoid learning, of the copyright laws that required certain
17   information to be presented in a certain way on the application, and of the fact that the
18   information Neman put in the relevant applications at the time of filing were not in
19   compliance with the rules due to its misunderstandings or lack of understanding of the
20   laws.
21           Interfocus’ evidence and arguments at most show that Neman should have read the
22   instructions, the instructions were clear and easily understandable, and therefore, Neman
23
     should have understood the instructions, or Neman was reckless in failing to read the
24
     instructions. However, what the Supreme Court required in Unicolors and Global-Tech
25
     were not mere negligence or recklessness, but willful blindness. The Supreme Court in
26
     Global-Tech clearly held that application of negligence or recklessness standards were
27
     improper for the purpose of satisfying the higher standards of willful blindness. Further,
28

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 1   even for the negligence, Interfocus’ argument assumes the instructions were clear to, and
 2   easily understandable by, the applicants. However, review of the instructions (Interfocus
 3   Ex. 6 and 7) prove the opposite, even assuming arguendo those were the instructions
 4   provided with the relevant applications.
 5
 6
 7                                       II. ARGUMENTS
     1. Under the Supreme Court’s holding in Global-Tech Appliances, Inc., Interfocus
 8
     completely failed to show any of the two elements required for willful blindness.
 9
            The U.S. Supreme Court held willful blindness requires showing two elements:
10
     “(1) The defendant must subjectively believe that there is a high probability that a fact
11
     exists and (2) the defendant must take deliberate actions to avoid learning of that fact.
12
     (emphasis added) Global-Tech Appliances, Inc. v. SEB S.A. (2011) 563 U.S. 754,
13
     769. The Supreme Court also held;
14
15
                   We think these requirements give willful blindness an appropriately
16
                   limited scope that surpasses recklessness and negligence. Under this
17
                   formulation, a willfully blind defendant is one who takes deliberate actions
18
                   to avoid confirming a high probability of wrongdoing and who can almost
19
                   be said to have actually known the critical facts. See G. Williams, Criminal
20
                   Law § 57, p. 159 (2d ed. 1961) (“A court can properly find willful
21
                   blindness only where it can almost be said that the defendant actually
22
                   knew”). By contrast, a reckless defendant is one who merely knows of a
23                 substantial and unjustified risk of such wrongdoing, see ALI, Model Penal
24                 Code § 2.02(2)(c) (1985), and a negligent defendant is one who should
25                 have known of a similar risk but, in fact, did not, see § 2.02(2)(d). The test
26                 applied by the Federal Circuit in this case departs from the proper
27                 willful blindness standard in two important respects. First, it permits a
28                 finding of knowledge when there is merely a “known risk” that the induced
                                                   3
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 1
                   acts are infringing. Second, in demanding only “deliberate indifference” to
                   that risk, the Federal Circuit's test does not require active efforts by an
 2
                   inducer to avoid knowing about the infringing nature of the activities.
 3
                   (emphasis added) Id. at 769-70.
 4
            The Supreme Court then found willful blindness based on the evidence showing
 5
     subjective knowledge such as that because the fryer was an innovation in the United
 6
     States, one would expect it to have a patent, as any superior product would in such a
 7
     market and the fact that Pentalpha copied all but the cosmetic features of the fryer
 8
     which showed that they knew the technology was something special and therefore
 9
     valuable. Id. at 771-72. The Supreme Court also found deliberate actions based on the
10
     fact that the defendant chose to copy an overseas version of the fryer despite its
11
     intention to sell in the United States, and the fact that it did not tell their patent
12
     attorney that they had copied anything. Id.
13
            The 9th Circuit Court of Appeal follows Global-Tech Appliances, Inc. See Lenz v.
14
     Universal Music Corp., (9th Cir. 2016) 815 F.3d 1145. The 9th Circuit Court held;
15
16
                   To meet the Global-Tech test, Lenz must demonstrate a genuine issue as to
17
                   whether—before sending the takedown notification—Universal (1)
18
                   subjectively believed there was a high probability that the video constituted
19                 fair use, and (2) took deliberate actions to avoid learning of this fair use. To
20                 make such a showing, Lenz must provide evidence from which a juror
21                 could infer that Universal was aware of a high probability the video
22                 constituted fair use. See United States v. Yi, 704 F.3d 800, 805 (9th
23                 Cir.2013). But she failed to provide any such evidence. … the district
24                 court improperly denied Universal's motion for summary judgment on
25                 the willful blindness theory because Universal “has not shown that
26                 it lacked a subjective belief.” By finding blame with Universal's
27                 inability to show that it “lacked a subjective belief,” the district court
28                 improperly required Universal to meet its burden of persuasion, even

                                                    4
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 1
                    though Lenz had failed to counter the initial burden of production that
                    Universal successfully carried. See Celotex Corp. v. Catrett, 477 U.S. 317,
 2
                    322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986); Nissan Fire & Marine Ins.
 3
                    Co. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir.2000). Lenz may not
 4
                    therefore proceed to trial on a willful blindness theory.
 5
                    (emphasis added) Id. a 1155-56.
 6
            In short, Lenz as the party having the burden of proving willful blindness failed to
 7
     meet the burden of at least producing any evidence from which a juror could infer that
 8
     Universal had a subjective belief, and the Appellate Court held Lenz would not be
 9
     allowed to proceed to trial on a willful blindness theory.
10
            Likewise, in this case, while Neman met its burden of establishing the
11
     presumption of the ownership and originality through copyright registration certificates,
12
     Interfocus having the burden of proving willful blindness to rebut, completely failed to
13
     show any of subjective belief of a high probability and deliberate action to avoid
14
     learning.
15
            In Global-Tech, what the defendant SEB subjectively believed it was highly
16
     probable but deliberately avoided learning of was the fact that the Global-Tech’s fryer
17
     was a valuable innovation registered for patent. In Lenz, what Lenz claimed Universal
18
     deliberately avoided of learning in spite of subjective knowledge of high probability
19   before Universal sent a take-down notice under DMCA, was that Lenz posting was a fair
20   use.1 In both of Global-Tech and Lenz, SEB and Universal had motives and incentives to
21   avoid learning of the fact in spite of their subjective knowledge of high probability.
22          In this case, Neman as it would be the same for any of genuine copyright holders
23   would have never had any such motive or incentive to deliberately avoid learning exactly
24   what information each of the questions on the copyright applications are asking and
25
26
     1
            Lenz as a user of internet posting website brought action alleging that Universal as the
27   copyright holder made material misrepresentation by issuing takedown notification without
     proper consideration of fair use doctrine, in violation Digital Millennium Copyright Act
28   (DMCA). See Lenz, supra, 815 F.3d at 1149.
                                                     5
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     exactly how it should be answered. As it would be the same for any of genuine copyright
     holders, had Neman subjectively knew there is a high probability that it was giving wrong
 2
     answers, and therefore, the certificates thereupon would have been under attack by
 3
     copyright infringers like Interfocus when Neman would try to enforce its copyrights.
 4
     Interfocus presents no evidence to attack otherwise on Neman’s ownership of the subject
 5
     designs, deny originality of the subject designs, or prove independent creation at all.
 6
     Interfocus does not deny this is its second time getting caught for infringements upon
 7
     Neman’s copyrights. Neman is the genuine owner of original designs and Interfocus is a
 8
     serial infringer.
 9
            Interfocus as in Lenz, completely failed to present any evidence based on which a
10
     juror may find Neman had “subjective” knowledge of high probability. It only argues
11
     Neman should (not must) have read the instructions and therefore, Neman should have
12
     known the rules, but Neman failed to properly answer even though it had no reason to lie
13
     to the US Copyright Office (not that Neman lied). Interfocus does not deny Neman had
14
     all the information available so that it could provide all of the accurate information had it
15
     known exactly what the registration asked for as the answers. In other words, had Neman
16
     genuinely had subjective knowledge of high probability that Neman was giving wrong
17
     answers, what Neman would have done was not avoiding to know it, but trying to even
18
     harder to know it so that it could give the proper answers in compliance with the rules,
19   because it was a simple matter of giving the right answers about author, pre-existing
20   materials, etc., about which Neman had no reason to lie.
21          On the other hand, the declaration of Mr. Adelso Henriquez sufficiently negates
22   the elements of the willful blindness test. Mr. Henriquez was in charge of filling out and
23   submitting the copyright applications including the subject applications in this case while
24   employed at Neman, after training by his predecessor Ms. Vicky Alvarado through
25   showing of how to fill the actual applications a couple of times. Henriquez Decl. ⁋3-5,
26   11. Mr. Henriquez then started submitting applications online. Henriquez Decl. ⁋5. While
27   there were some comments from the Copyright Office about certain designs being too
28   simple or common to be original, “there was no emails or letters from the copyright

                                                   6
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 1
     office as to other issues such as having to put all of the authors’ names who worked on
     any of the elements of the group or needing to identify prior-existing designs in
 2
     connection with derivatives.” Henriquez Decl. ⁋7. “To [his] understanding, Neman
 3
     already had been registering its designs for years before I joined Neman, and [Mr.
 4
     Heriquez] have no reason to believe Neman ever had any issues that Neman intentionally
 5
     or by mistake provided inaccurate information on the copyright applications.” Henriquez
 6
     Decl. ⁋8. Further, “during [his] employment, Neman never had such issues with any of
 7
     the information [Mr. Henriquez] provided on the applications submitted to the copyright
 8
     office.” Henriquez Decl. ⁋8. Therefore, “throughout the whole time of [his] employment,
 9
     [Mr. Henriquez] genuinely believed [he] was doing [his] job right and providing the
10
     accurate answers to the questions on the applications. [He] had no reason to believe that
11
     what [he] did or how [he] did, could possibly be problematic in anyways or that the
12
     information [he] put on the applications could possibly be considered inaccurate. [Mr.
13
     Henriquez] had no reason to believe [he] needed to study more about the applications.”
14
     Henriquez Decl. ⁋9. He did not know much about the instructions available through the
15
     links on the Copyright Office website, nor did he have any idea about the existence of
16
     compendium or CFRs. Henriquez Decl. ⁋10. Mr. Henriquez genuinely believed there was
17
     any issue with the information he put on the subject applications or had no idea the
18
     registrations required all names of design studios as authors and the information of the
19   prior arts because Neman never had any such issues and the Copyright Office never
20   inquired or commented about the issues of author, work for hire or preexisting arts.
21   Henriquez Decl. ⁋13.
22          The above clearly shows Neman had no subjective knowledge of high probability
23   that Neman was providing inaccurate information and Neman did not deliberately act to
24   avoid learning of it. “There was, and is, no reason why [Neman or Henriquez] would
25   withhold, be unable or unwilling to provide, or lie about, the identities of design studio
26   names as authors or any information about any prior-existing arts, had [Neman or
27   Henriquez] known the said information was required on the applications.” Henriquez
28   Decl. ⁋14.

                                                   7
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 1
             In short, Interfocus completely failed to present any evidence based on which a
     juror may find Neman deliberately acted to avoid learning the facts. Rather, evidence
 2
     shows Neman had no reason to deliberately try to avoid, but in fact had reasons to want
 3
     to know and comply with the rules so that Neman could give proper answers.
 4
 5
     2. Interfocus’ Reliance upon Lieb Is Flawed.
 6
             With all due respect for the court in Lieb, even if taken as a potentially persuasive
 7
     case, not precedent case, the holding appears to have “depart[ed] from the proper
 8
     willful blindness standard[s]” under Global-Tech Appliances, Inc. The court in Lieb
 9
     held;
10
11
                    As to whether Lieb can credibly claim that he did not know of the
12
                    inaccuracy of his registration from a legal point of view, reference to the
13
                    USCO resources described above is appropriate. The clarity of these
14
                    resources, coupled with the simplicity of the information that Lieb was
15
                    asked to provide, makes this a case where only willful blindness to the law
16
                    can explain the inaccuracy at issue. As demonstrated, USCO materials
17
                    regarding previously published work are easily understandable by
18
                    anyone, including a lay person without a law degree.
19                  (emphasis added) Lieb v. Korangy Publishing, Inc. (N.Y.E.D) 2022
20                  WL1124850, p.13.
21           In Lieb, the holding discusses nothing whatsoever about the two elements of
22   willful blindness test or any distinctions of willful blindness from recklessness or
23   constructive knowledge. The holding states merely Lieb was on constructive knowledge
24   but was asinine enough to fail to read and understand such easily understandable by any
25   lay person, reasonable or unreasonable, which will automatically make all of copyright
26   owners who failed to give accurate information on the application, willfully blind
27   persons. Maybe it would be fair to say the copyright owners who failed to read and
28

                                                   8
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 1
     understand such easily understandable explanations, were unreasonable or even foolish,
     but they were not automatically willfully blind.
 2
            Likewise, Interfocus relying on Lieb again makes flawed arguments “depart[ing]
 3
     from the proper willful blindness standard in two important respects”, which the
 4
     Supreme Court pointed out the appellate court improperly applied in Global-Tech
 5
     Appliances, Inc., supra, 563 U.S. at 770. First, it permits a finding of knowledge when
 6
     there is merely a “known risk” that the induced acts are infringing, and second, in
 7
     demanding only “deliberate indifference” to that risk, the Lieb or Interfocus' test does
 8
     “not require active efforts by an inducer to avoid knowing” about what the relevant
 9
     application inquired about and how they should have been answered.
10
            In fact, the Supreme Court already presented clear distinguishments of a willfully
11
     blind defendant from a reckless defendant is “one who merely knows of a substantial and
12
     unjustified risk of such wrongdoing,” and a negligent defendant is “one who should have
13
     known of a similar risk but, in fact, did not” Global-Tech Appliances, Inc., supra, 563
14
     U.S. at 769-70 (citing ALI, Model Penal Code § 2.02(2)(c) (1985) and § 2.02(2)(d)). In
15
     this case, while completely failing to present any evidence showing Neman or its staffs
16
     Ms. Vicky Alvarado or Mr. Adelso Henriquez, had subjective knowledge of high
17
     probability or their deliberate action to avoid learning, Interfocus at most argues that
18
     Neman should have known of the risk but foolishly ignored or failed to know it by not
19   reading the instructions each and every time when filing the applications. Interfocus even
20   blamed Neman for not reading and understanding CFRs and compendiums, which USCO
21   intermittently makes nominal or substantial changes. This at the best reaches the level of
22   negligence, not even recklessness. Interfocus presents no evidence showing that Neman
23   merely knew of a substantial and unjustified risk of providing inaccurate answers, while
24   Neman in no way meant to lie to the USCO, which may at most prove recklessness, not
25   willful blindness.
26          In fact, Interfocus failed to prove negligence either, as discussed below, because
27   its argument for constructive knowledge is based on wrong assumption that the
28

                                                   9
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 1
     instructions if reasonably read would have been clear to a reasonable person, which is not
     true.
 2
 3
     3. Interfocus’ Exhibits 6 and 7 (Instructions) in fact negates Interfocus’ own position
 4
     because the instructions were not so clear or easily understandable, but rather
 5
     confusing and misleading.
 6
             Interfocus presented multiple instructions and applications without laying
 7
     foundations to establish
 8
             As discussed above, even assuming arguendo Neman’s employee read the
 9
     instruction, it does not necessarily establish Neman or its employee “understood (or
10
     knew)” the instructions well enough to be able to provide accurate information that the
11
     instruction meant to get.
12
             Interfocus vaguely presents Exhibit 7 (Rev: 12/2016) to purportedly be the
13
     application instructions used at the times of the registrations of NB 161106 (dated
14
     1/13/2017) and NB170268 (dated 3/3/2017).2 Interfocus presented no instructions that
15
     were actually available on the copyright office’s website at the times of the subject
16
     registrations,. Interfocus also failed to show, if any instructions were available, how their
17
     links were actually provided around the links to the application forms.
18
             Even assuming arguendo the online instructions were the same as Exhibits 6 and
19   7. The USCO as of October 2016 removed the entire section of 37 C.F.R. Section 202.4
20   including the subsection (c)(5) requiring all names of all authors on the application. 81
21   FR 6794-01, p.67946. 202.4(c)(5) did not exist at the time of Neman’s application and
22   registration as of 2017. NB161106 was registered as of January 13, 2017, and NB170268
23   was registered as of March 3, 2017. After the two registrations, the said subsection was
24
25   2
            On the other hand, Interfocus failed to present any instruction form as to NB180228
26   dated 4/30/2018. As discussed above, the USCO changed CFR to add subsection (c)(5) to
     Section 202.4, as of October 12, 2017, which is only a few months before the registration of
27   NB180228 which provides “[a]ll works [identified in the group registration of unpublished
     works] must be created by the same author or joint authors, and the author and claimant
28   information for each work must be the same.” 37 C.F.R. § 202.4(c)(5). 82 FR 47415-01.
                                                    10
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 1
     added as of October 12, 2017 (82 FR 47415-01, pp.47420-21). Therefore, the timeline of
     the events are as follows.
 2
 3
        (1) Instruction in Ex. 6 revision– 5/2012
 4
 5
        (2) Removal of the entire section of 37 C.F.R. Section 202.4 including (c)(5) –
            10/2016
 6
 7
        (3) Instruction in Ex. 7 revision - 12/2016 (Ex. 7 completely failed to include the
            changes of the CFR two months before the revision)
 8
        (4) NB 161106 registration – 1/13/2017
 9
10
        (5) NB170268 registration - 3/3/2017

11
        (6) Reinstatement of the subsection (c)(5) – 12/2017

12
        (7) Instruction after the said reinstatement – Interfocus presented none in spite of such
            thorough search by its counsel with decades of experience
13
14
        (8) NB180228 registration – 4/30/2018

15
            In spite of the big change of removing the entire section 202.4 from CRF, the
16
     instructions in Exhibit 6 and Exhibit 7 are simply identical, especially the one about
17
     author and prior existing works, which puts the “accuracies” of the instructions in serious
18
     doubt. Even though the requirement that all of the authors to be identified on the
19
     application per subsection (c)(5), the instruction in Exhibit 7 still requires the applicants
20
     to give the requested information about every "author" who contributed any appreciable
21
     amount of copyrightable matter to this version of the work.” Unlike the findings about
22
     whatever instructions reviewed in Lieb, the instructions in this case are not so clear or
23
     easily understandable. Rather, they appear to be vague, ambiguous, incomplete and even
24
     “inaccurate”.
25
            Even such wordings are also confusing because the instruction on in “SPACE 2:
26
     Author(s)”, “unless the work is a "collective work," give the requested information
27
     about every "author" who contributed any appreciable amount of copyrightable matter to
28

                                                    11
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 1
     this version of the work.” Whatever “collective work” meant, the instruction provides no
     definition of the term, which is a matter of legal conclusion. Even assuming arguendo
 2
     certain applicants really read the instruction, with no definition provided, some applicants
 3
     would reasonably interpret it to mean a group of multiple works made by multiple
 4
     authors. Therefore, the applicants would reasonably provide only one author as the
 5
     instruction states “In the case of a collective work, such as a catalog of paintings or
 6
     collection of cartoons by various authors, give information about the author of the
 7
     collective work as a whole.” (emphasis added).
 8
            Further review of the instructions reveals more issues. In “SPACE 5: Previous
 9
     Registration”, the instruction states “[t]he questions in space 5 are intended to find out
10
     whether an earlier registration has been made for this work and, if so, whether there is
11
     any basis for a new registration. As a rule, only one basic copyright registration can be
12
     made for the same version of a particular work.” (emphasis added). Reasonable
13
     applicants would see the terms “this work” again at the beginning, and would reasonably
14
     understand it to mean “the group as a collection”. On the other hand, SPACE 1: Title”
15
     states under the subtitle “Title of This Work”, “Every work submitted for copyright
16
     registration must be given a title to identify that particular work.” Reading this part does
17
     not clarify what “This Work” exactly means between “the group as a collection” and
18
     “each of the elements in the group”. Due to the subtitle saying Title of This Work, the
19   applicants would more likely to read it to mean the works as a group. Even assuming
20   arguendo, some applicants or one applicant might have read it to mean each of the
21   designs, it would still mean that “applicants could reasonably read this mean one way or
22   the other” which does not even establish a constructive knowledge. To avoid the
23   redundancy, it will not be discussed here but even reading the entire instructions under
24   SPACE 1 would lead to the same conclusions, or even reenforce the conclusion that This
25   Work means the works as a group due to another subtitle stating “Nature of This Work”.
26   Therefore, some of the applicants would reasonably answer “No” to Section 5 asking
27   “Has registration for this work, or for an earlier version of this work, already been made
28

                                                  12
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 1
     in the Copyright Office?” unless This Work as a group (or the substantially the same
     group) was registered in the past.
 2
            The same problem exists as to SPACE 6. “SPACE 6: Derivative Work or
 3
     Compilation” states “[a] "compilation" is defined as "a work formed by the collection
 4
     and assembling of preexisting materials or of data that are selected, coordinated, or
 5
     arranged in such a way that the resulting work as a whole constitutes an original work of
 6
     authorship." A "derivative work" is "a work based on one or more preexisting works."
 7
            The above SPACEs read together would cause at least some reasonable applicants
 8
     (even the reasonable factfinder in this case today) to understand the author, preexisting
 9
     material and publication of This Work as the ones of the group rather than each of the
10
     elements in the group. Again, even assuming arguendo, some applicants or one applicant
11
     might read it to mean each of the designs, it would still mean that “applicants could
12
     reasonably read This Work means one way or the other”.
13
            In addition, even assuming arguendo the above are still so clear or easily
14
     understandable for reasonable applicants, and some applicants were so unreasonable or
15
     even silly so that the applicants failed to understand, it establishes merely constructive
16
     knowledge for negligence, not willful blindness.
17
            Further, as discussed above, the instructions “failed” to notify in such a “clear and
18
     easily understandable” manner as to any changes to the rules in the instructions when
19   there were major changes of the rules. Interfocus now is arguing the applicants should
20   read the same instructions each and every time, word by word, or at least compare the
21   instructions side-by-side, again and again, which is put in boilerplate statement format,
22   whenever submitting applications. Before blaming the applicants for not reading
23   thoroughly all of the instructions, the compendiums and the CFRs that “intermittently”
24   change, it would make a lot better and reasonable sense for the copyright office to put
25   clear notifications around the link for the application in very clear and easily
26   understandable and ostensible manner what major changes the applicants should know, or
27   what are typical mistakes the applicants make. Even lawyers would not be able to update
28

                                                  13
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 1
     themselves on real time basis each and every time whenever there were changes to those
     rules.
 2
 3
     4. Given Interfocus’ failure to meet the requirements under Unicolors and Global-
 4
     Tech, the copyright office’s opinion letter has no relevance in this case.
 5
              In Unicolors, the Supreme Court held it would not matter whether the
 6
     inaccuracy would have been the reasons for the copyright office to refuse the
 7
     registration, because Unicolors’ provision of inaccurate information originated from its
 8
     lack of knowledge of law, i.e. mislabeling. The Supreme Court in Unicolors
 9
     acknowledged “[r]egistration applications call for information that requires both legal and
10
     factual knowledge.” Unicolors, Inc. v. H&M Hennes & Mauritz, L. P. (2022) 142 S. Ct.
11
     941, 946. The Supreme Court also stated “John may have seen the bird perfectly well,
12
     noting all of its relevant features, but, not being much of a birdwatcher, he may not
13
     have known that a tanager (unlike a cardinal) has black wings. In that case, John has
14
     made a labeling mistake.” Id. Likewise, “Unicolors had failed to satisfy the “single
15
     unit of publication” requirement (because it offered some of the 31 designs exclusively to
16
     certain customers).” Id. “Unicolors’ mistake is a mistake of labeling” and “[t]he labeling
17
     problem here is one of law.” If Unicolors was not aware of (or was not willfully blind to)
18
     the legal requirement that rendered the information in its application inaccurate, it did not
19   include that information in its application “with knowledge that it was inaccurate.” Id.
20            The Supreme Court also recognized the legislative history as follows:
21                  Congress enacted §411(b) to make it easier, not more difficult, for
22                  nonlawyers to obtain valid copyright registrations. The House Report states
                    that its purpose was to “improve intellectual property enforcement in the
23
                    United States and abroad.” H. R. Rep. No. 110–617, p. 20 (2008). It did so
24                  in part by “eliminating loopholes that might prevent enforcement of
25                  otherwise validly registered copyrights.” Ibid. The Report specifically notes
                    that some defendants in copyright infringement cases had “argued ... that a
26
                    mistake in the registration documents, such as checking the wrong box on
27                  the registration form, renders a registration invalid and thus forecloses the
28                  availability of statutory damages.” Id., at 24. Congress intended to deny

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 1
                   infringers the ability to “exploi[t] this potential loophole.” Ibid. Of course,
                   an applicant for a copyright registration—especially one who is not a
 2                 lawyer—might check the wrong box on the registration documents as a result
 3                 of a legal, as well as a factual, error. Given this history, it would make no
 4
                   sense if §411(b) left copyright registrations exposed to invalidation based
                   on applicants’ good-faith misunderstandings of the details of copyright
 5                 law.
 6                 (emphasis added) Id. at 948.
 7          In this case, Interfocus failed to show any of Neman’s subjective knowledge of a
 8   high probability and deliberate action to avoid learning. Interfocus failed to show even
 9   negligence or recklessness, which are lower standards than willful blindness. Therefore,
10   section 411(b) is not triggered at all, and accordingly, as the Supreme Court’s decision in

11   Unicolors, and the 9th Circuit Court’s most recent decision (see Unicolors, Inc. v. H&M

12   Hennes & Mauritz, L.P. (2022) 18-56253 & 18-56548) after the Supreme Court’s

13   decision, there should be no reference to the copyright office’s opinion at all.

14
15
     5. It is the loopholes to be fixed, which the Supreme Court has held to be the
     legislative intent. However, notwithstanding its good-faith intent, the ways the
16
     copyright office manage the procedures of applications and issue its opinion letters
17
     in litigations, work unreasonable, unfair and even unjust against the copyright
18
     owners.
19
            Even assuming arguendo any layperson, reasonable or unreasonable, smart or
20
     silly, could easily find, read and understand the compendiums in the amount of 1288
21
     pages, the so-called “compendium” in the past and even now, is still blatantly misleading
22
     the applicants. It states a supplementary registration can be used to correct an error
23
     or omission involving the author(s) of the work. Compendium §1802.6(D) (3d ed.
24
     2014 and 2021) (citing 37 C.F.R. § 201.5(b)(2)(ii)(A)). (citing 37 C.F.R. §
25
     202.6(d)(3)(i)). If two or more authors created the work and some of the authors
26
     were not named, the names of the missing authors may be added to the registration
27
     record with a supplementary registration. Compendium §503.2 (3d ed. 2021). The
28

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 1
     compendium says mistakes about omitting some author names is all good because it is
     only a matter of supplementation. There is no warning it could be a reason for
 2
     invalidation or extensively prolonged litigation dispute when filing a lawsuit against
 3
     infringers, even when the applicant is a real owner, or if the real owner loses the litigation
 4
     against the infringer, the owner will have to pay the infringer, even when the owner is the
 5
     real owner and the infringer is real infringer so that it would not make any reasonable
 6
     sense to most of lay persons, if not all.
 7
            In nowhere on the copyright office’s website, instructions, or compendium, there
 8
     is any warning whatsoever clearly, easily understandably, and ostensibly explaining for
 9
     lay person applicants, that even after issuing the copyright certificate, the copyright office
10
     would take blatantly offensive attitude against the applicants by filing a so-called opinion
11
     letter, even when knowing it would violate the Court’s order to not do so given the U.S.
12
     Supreme Court decision in Unicolors, and the letter will state that, in direct contradiction
13
     of what the same office stated in section 503.2 of the compendium, it would have simply
14
     rejected the applications without any chance for explaining or supplementing, had it
15
     known about the “inaccuracies”, notwithstanding whether it was pure mistakes, or
16
     whether it was in fact due to the office’s own failures to explain to the applicants in
17
     reasonably clear, easily understandable and reasonably ostensible manner in any of the
18
     instructions or compendiums. It is unfair and unjust and does rise to the level of reckless
19   omission to disclose, and/or reckless misrepresentation of, material information about
20   their services to the applicants whom the copyright office should care about as their
21   consumers/customers, before accepting the filing fees for their problematic services.
22
23          As Interfocus cited at the end of its brief, there are manipulated and promoted
24   prejudices among infringers and the ones making businesses out of defending the
25   infringers who are troubled by the copyright owners bringing consequences for
26   their unlawful misconducts, calling the small business plaintiff in Unicolors a “troll”
27   who “batches many works into single ‘collections’” to save money and “obtain
28   registrations that facially cover noncopyrightable works[,]” thereby facilitating numerous

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 1
     copyright infringement actions based on minor variations in generic fabric designs.
     William F. Patry, 5 Patry on Copyright § 17:125.
 2
            If a copyright owner trying to enforce its copyrights to protect its designs and
 3
     businesses is a troll, what is the infringer who so freely without guilty feeling at all
 4
     copied someone else’s designs for inequitable pirating of the fruits of another’s labor and
 5
     palming off those fruits as their own, to simply gain unearned commercial benefits.
 6
     Shouldn’t such deceptive business practices be called stealing, misappropriation and
 7
     inequitable pirating? What a shame to support such serial infringers.
 8
            Was the Congress silly in not excluding fabric designers and businesses from
 9
     copyright protections on the print patterns on their fabric which are the key factors for
10
     competitiveness to survive in fabric and garment industries (which is exactly why these
11
     infringers cannot stop copying good designs in the market)? What is the basis for making
12
     such baseless statements “registrations that facially cover noncopyrightable works”? If
13
     so, why the defendants in Unicolors and this case completely failed to show lack of
14
     copyrightability of the designs? If group registrations were wrong, why the congress or
15
     the copyright office allowed it? Why should the copyright owners who were pushed into
16
     the loophole, be blamed? If there are many cases for infringements because of numerous
17
     serial infringers, whose fault is it, copyright owners or infringers?
18
            As the Supreme Court pointed out in Unicolors, the problem was the loopholes
19   that the Congress intended to deny. From the view of copyright owners, the reality has
20   been that the copyright office belatedly appears to unfairly play its role in favor of
21   infringers setting up against the copyright owners, whether the office meant it or not.
22          In this case, whether it acts in good faith or with such improper prejudices, the
23   copyright office’s so-called “advise to the Court” that “the Office would have refused
24   registration for the subject applications if it had been aware of the errors in Neman
25   Brothers’ copyright applications” (Id. at 18) is misleading because it omits and
26   contradicts material information discussed in its own opinion that should have been
27   incorporated into the conclusion, without which the advice would have “high probability”
28   of wrongly misleading.

                                                   17
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 1
            First, the opinion admits “[b]efore issuing any registrations, the Office would
     have communicated with the applicant to (1) determine if the collections met the
 2
     eligibility criteria for the unpublished collection option and (2) resolve the relevant
 3
     omissions. (DKT 85, p. 3) … However, back then, the Office had no reason to question
 4
     the representations in the applications and accepted them as true and accurate (DKT 85,
 5
     p.4)…. Had the Office been aware that Neman Brothers was not the sole author of all
 6
     the works claimed in its 2016, 2017, and 2018 unpublished collection applications, the
 7
     Office would not have registered Neman Brothers’ unpublished collections. Instead, the
 8
     registration specialists would have corresponded with Neman Brothers to obtain
 9
     several additional pieces of information.” (emphasis added) Id. at 12. In short, had the
10
     office known of any issues, it would have corresponded with Neman asking questions
11
     and requesting further information.
12
            The opinion also states as to the authorship issue for group registration as a
13
     collection that “[b]ecause it is unclear whether any of the collections represent the work
14
     of one common author, Neman Brothers’ collections might not have been eligible for
15
     the unpublished collection option. If the collections did not meet the eligibility
16
     requirements for the unpublished collection option, then certain designs should have
17
     been registered separately” (emphasis added) (Id at 15), which Neman would, and
18
     could, have done from the beginning had such needs for separate registrations been
19   known to Neman.
20          In short, even assuming arguendo it is clear Neman’s additions or changes to
21   certain designs purchased from design studios were determined to be not sufficient and
22   therefore, Neman did not qualify to be an author for the purchased designs, it does not
23   mean Neman would have never get any copyright registration but it would only mean
24   those certain designs would have been registered separately.
25          As to other issues, the opinion states Neman Brothers would have thus been
26   required to provide a statement explaining “how it obtained copyright ownership of the
27   third-party authored works”, and even “whether the works purchased from third parties
28   were published before Neman Brothers made its modifications” (Id. at 17), which was the

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 1
     issue raised by the defendant in Unicolors case. However, even if there were problems
     with those issues, Neman would have obtained registrations anyways through separate
 2
     registrations as separate groups or through other options because none of them changes
 3
     one simple fact that Neman owns the designs anyways. The opinion’s advise at the end
 4
     stated merely that “that the Office would have refused registration for the subject
 5
     applications [as one group registration] if it had been aware of the errors in Neman
 6
     Brothers’ copyright applications [after corresponding with Neman to confirm the details
 7
     related to the relevant inquiries]. [Even if it refuses to register as one group, it does not
 8
     mean Neman would have never get any copyright registration but it would only mean
 9
     those certain designs would have been registered separately and/or through other
10
     option.]”
11
            Ironically, the opinion quotes nothing whatsoever from the instructions that
12
     were supposed to clearly and easily understandably and ostensibly explain the rules to the
13
     applicant. Rather, it discussed, and concluded, based upon its own review, years after the
14
     registration, of the relevant law, regulations, and the Office’s practices. The office
15
     never asked any questions to Neman at the time of submitting the applications and even
16
     during the litigations, and the opinion admits certain things were unclear and therefore, it
17
     could not finish the review of the necessary information, but the opinion also unfairly
18
     stated Neman’s filings “failed to” provide the necessary information, which no body
19   including the office ever asked.
20          The opinion also dares to state “[a] supplementary registration may be used to
21   correct certain errors or amplify the information, such as missing authors and transfer
22   statements, … however, that the Office may decline to issue a supplementary registration
23   when it is aware that there is actual or prospective litigation involving a basic registration
24   (1) if the proposed change would be directly at issue in the litigation, and (2) if the
25   proposed amendment may confuse or complicate the pending dispute.” This is
26   unreasonable, unfair and unjust again, notwithstanding whether the office meant it or not.
27   This statement admits there are mistakes including the issues of missing authors and
28   transfer statements, the copyright owners would have been able to cure. However, after

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 1
     they file a lawsuit without knowing of their pure mistakes, the office would not allow any
     chance for them to cure the mistakes that would have been curable, but rather it would
 2
     make sure the infringers would be able to use the loophole to invalidate the registrations
 3
     by not giving any chance to the copyright owners to cure their pure mistakes. When
 4
     section 411 is triggered, the office would write an opinion letter based on merely the
 5
     records in the case that do not necessarily include all of the information the office would
 6
     have needed when determining whether to grant or refuse the registration at the time of
 7
     application and at the time of filing the opinion. Then, it would provide the so-called
 8
     advise to the Court in unreasonably simplistic and misleading way by saying it would
 9
     have refused to register without clarifying the “group” registration would have been
10
     refused, as if the applicant would have never been able to register the work at all.
11
            The copyright office, as discussed above, admitted it would have not known where
12
     the applicants make mistakes as to various issues unless there is contradiction among the
13
     information on the application. Likewise, the copyright owners would have not known of
14
     their mistakes, even if any, until somebody pointed them out, which most of the time, if
15
     not all of the time, happens through the copyright owners lawsuit against infringers,
16
     where those infringers challenge the registrations using the “loophole” Congress
17
     intended to deny because it would make no sense if exposing registrations to
18
     invalidation based on applicants’ good-faith misunderstandings of the details of
19   copyright law.
20          Whether the office meant it or not and whether it was the office’s fault or not, the
21   whole system has been working unreasonably, unfairly and unjustly in favor of the
22   infringers and against the copyright owners.
23
24   6. Interfocus misstated about Ms. Moktarian’s deposition testimonies.
25          Interfocus falsely argued that Ms. Moktarian “admit[ed] the Form VA instructions
26   are “clear”” by taking a certain part out of context. First, the cited question and answer
27   were regarding “Application Form VA used in June 2001 [the deposition exhibit 2]” (Ex.
28   43, 22:3-4). Second, Ms. Moktarian did not see any “application cover sheet

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     [instructions] that was attached to the actual Form VA that” Neman “had to fill out”
     when searching through the records during discovery. Moreover, in response to whether
 2
     she understand the meanings of the terms such as author, Ms. Moktarian answered
 3
     “[n]ow I know what it means.” (emphasis added) (Ex. 43, 23:19- 24:2). After that, when
 4
     a similar question is repeated, she answered “To me these instructions are clear, but I'm
 5
     not sure -- or somebody who was doing it back in 2001, it was clear to them or they just
 6
     did it based on their knowledge.” (Ex. 43, 25:17-26:1). As obvious from the records of
 7
     this case, Ms. Moktarian has been involved in this case for a while, and therefore, she
 8
     learned it, and knows it now.
 9
            Interfocus also argued that because Ms. Moktarian denied “knowing [Neman]’s
10
     own copyright application processes before 2021 because the employees who completed
11
     those applications have left the company”, “[i]t therefore cannot dispute that it saw and
12
     understood the clear “author,”, “work made for hire,” and “derivative work” requirements
13
     attached to the paper applications and incorporated into the electronic applications it
14
     submitted.” This argument is flawed. First, it is the burden of Interfocus as the defendant
15
     to prove Neman’s knowledge (or willful blindness). Second, Ms. Moktarian’s lack of
16
     personal knowledge of whether the former employees in charge “saw and understood”
17
     does not automatically mean they “saw and understood”. In addition, Ms. Moktarian at
18
     least could testify to the general procedure and policies. Ms. Moktarian started working
19   for Neman for 15 years since 2007 as a designer (Ex. 43, 8:19-25), and she started
20   working on filling out and submitting the copyright applications since 2021, which she
21   took over from Ms. Alicia Barrales (Ex. 43, 9:7-16, 9:24-10:1). Lastly, the employees
22   who completed those applications were identified, and Interfocus could, and were invited
23   to, subpoena and depose them, but Interfocus chose not to (Ex. 43, 15:16-17:2). While
24   both counsels were confused with the names (i.e. Alicia Barrales instead of Vicky
25   Alvarado) at the deposition of Ms. Moktarian, Neman did identify the former employees
26   including both Vicky Alvarado and Adelso Henriquez as the ones in charge of submitting
27   the applications during the relevant times, with their employment period and the contact
28   information as of August 3, 2022 (Jeong Decl. ⁋5), whom Interfocus could depose as

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 1
     Neman’s counsel recommended (Ex. 43, 16:8-9), before submitting its brief but
     Interfocus did not do so. Interfocus was given more than enough chances again and again
 2
     to defend itself, which delayed this case to make it pending for 2 years and has nothing
 3
     left for its defense.
 4
 5
     7. Fraud element matters.
 6
            Courts routinely use § 411(b)(1) to overlook similar good faith errors and allow
 7
     suits to proceed under the proper claimant's name. See Jules Jordan Video, Inc. v. 144942
 8
     Canada Inc., 617 F.3d 1146, 1155–56 (9th Cir. 2010) (sole shareholder named instead of
 9
     corporation); Thomas Wilson & Co. v. Irving J. Dorfman Co., Inc., 433 F.2d 409, 412 (2d
10
     Cir. 1970) (president of corporation named instead of corporation); Morelli v. Tiffany &
11
     Co., 186 F. Supp. 2d 563, 565 (E.D. Pa. 2002) (owner named instead of corporation); see
12
     also One Treasure Ltd v. Inc. v. Richardson, 202 F.App'x 658, 660 (“Courts have
13
     repeatedly excused a wide range of errors, ... including misidentification of copyright
14
     claimant[.]”); NIMMER, supra, at § 7:20 (“[C]ases have forgiven even ... erroneous
15
     statements as to the identity of the author, or of the copyright claimant.”).
16
            None of the Supreme Court in Unicolors or the Congress ever overturn any of
17
     them. Rather, the Supreme Court in Unicolors held “[w]e can find no indication that
18
     Congress intended to alter this well-established rule when it enacted § 411(b). Unicolors,
19   Inc., supra, 142 S.Ct. at 948. “When Congress codifies a judicially defined concept, it is
20   presumed, absent an express statement to the contrary, that Congress intended to adopt
21   the interpretation placed on that concept by the courts” Id. (citing Davis v. Michigan
22   Dept. of Treasury, 489 U.S. 803, 813 (1989)).
23          Knowingly providing inaccurate information to the copyright office for
24   registration, as opposed to innocent mistakes, is in fact the standard for fraud. As
25   discussed above, Neman is the genuine owner of copyrights. It had no reason to
26   knowingly mislead the copyright office, but rather it as always, would want proper
27   registration because there are so many infringers like Interfocus and it would never want
28   the infringers like Interfocus to exploit the loophole, which may unreasonably, unfairly or

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              NEMAN BROTHERS & ASSOC., INC.’S BRIEF IN OPPOSITION TO
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     unjustly invalidate its copyrights for Neman’s pure mistake. If the group registration does
     not work, as the copyright office admitted, Neman could simply submit separate
 2
     applications. The Congress and the Supreme Court made it clear that it would make no
 3
     sense to allow the infringers to exploit the loophole would make no sense and would be
 4
     against the legislative intent. The unfair and unjust silliness should stop immediately.
 5
 6
     8. Interfocus’ argument about significant financial benefits makes no sense.
 7
            None of the inaccuracies Interfocus argues about in this case would have been
 8
     refused by the USCO for registration as a group. As the USCO letter admits, had it found
 9
     on the issues, it would have inquired Neman thereabout and asked Neman to explain or
10
     correct the matters on the application. Even if such inaccuracies were found after the
11
     registrations, the USCO would have allowed filings of Form CA to correct the mistakes.
12
     Such supplementation is not allowed only when there is a litigation pending about the
13
     relevant registration. Neman would have qualified for the contemplated group
14
     registrations anyways with or without inaccuracies Interfocus argues about. In other
15
     words, Neman obtained no financial benefits whatsoever that Neman would have not
16
     qualified for. Interfocus’ argument on this may make sense if Neman obtained the subject
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     group registrations by “falsely” making inaccurate statements, which was why the
18
     numerous precedent cases held the “fraud” element was required to invalidate
19   registrations for inaccuracies. The fact that Neman qualified for the group registrations
20   with “accurate information” anyways is the evidence that Neman had no reason
21   whatsoever to be “willfully blind” to the inaccuracies. Rather, Neman always had the
22   reasons to want to present accurate information so that the copyright infringers like
23   Interfocus would not have unfair excuses to avoid liability or delay the case when sued
24   by Neman for their unlawful infringements.
25          The purported inaccuracies in fact disadvantage Neman as the copyright owner
26   because as it is here, defendants like Interfocus who do not dispute ownership,
27   originality, copying or damages would use them as excuses to freely go away from
28   liabilities or at least delay the cases. Not surprisingly, having no other meritorious

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     defense at all, Interfocus has desperately and vigorously argued on this issue. Interfocus
     in its recent brief even made false arguments as if Interfocus and its counsels did not
 2
     know the group registration would anyways have been available for Neman even when
 3
     Neman provided accurate information in compliance with the registration rules because
 4
     Neman owned the designs, and the applicable rules allowed group registrations anyways.
 5
     In other words, group registrations would have been available for Neman anyways and
 6
     therefore, Neman did not take any benefits through the group registrations that Interfocus
 7
     falsely argued as if Neman would have not qualified had the USCO known the accurate
 8
     information.
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10
                                        III. CONCLUSION
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            Based on the forgoing, a summary judgment or adjudication should be granted for
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     Neman and against Interfocus.
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14
     Dated: November 15, 2022                          RESPECTULLY SUBMITTED,
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16                                                     _/s/Chan Yong Jeong______
                                                        Chan Yong Jeong, Esq.
17
                                                        Attorney for NEMAN BROTHERS
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